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January 3, 2019

Hon. Katherine Polk Failla

United States District Judge meta tps uta.
‘United States District Court LG JAN -8 PHI2 he

Southern District of New York

500 Pearl Street

New York, NY 10007

 

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Re: Price v. City of New York, Simmons et al, 15-CV-587 1, Plaintiffs Letter Requesting More Time

for Discovery
Dear Judge Failla:

[am the Plaintiff in the above-captioned matter. I write to request an extension for Discovery. I am hopeful that
I have secured counsel to represent me. They are currently running conflicts and I should know within the next
two weeks if they will take my case. It looks promising. Please may I request another six month extension for
Discovery as the new firm will need to bring itself up to speed before proceeding with depositions et al? If they
don’t end up taking my case I will need more time to begin the discovery process alone as a pro se litigant. I
have asked the City Law Department their thoughts on this matter and have yet-te-heaPeresponse. Thank you

 

in advance for your kind consideration of my request. «Keel har
Sincerely, A
Kelly Price Sworn Before me on this day of January, 2019
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Hyun Kim

 

From: Grace <gorgeous212@gmail.com>
Sent: Monday, January 07, 2019 10:36 AM
To: Hyun Kim

Subject: Fwd: Discovery

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From: March, Debra (Law) <dmarch@law.nyc.gov>

Date: Thu, Jan 3, 2019 at 4:21 PM
Subject: RE: Discovery
To: Grace <gorgeous212(@gmail.com>

Hi Ms. Price,

It was my understanding that discovery was effectively stayed while you were securing counsel and that the discovery
schedule would be reset. | direct your attention to page 31 and 36 of the transcript from our last conference on
November 14, 2018. However, if this is an incorrect understanding, | would not object to more time.

Additionally, once you secure counsel please forward my information to them.

Best,

Debra

From: Grace [mailto:gorgeous212@gmail.com]

Sent: Thursday, January 03, 2019 12:18 PM
To: March, Debra (Law)
Subject: Discovery

Miss March:
 

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I think I've secured counsel finally. I'm going to write to Hon. Judge Polk-Failla and ask for a Discovery
Extension be they are still running conflicts. Do you have anything to contribute to this request or any specific
objections or a time-frame in mind that would suit your needs?

best,

Miss Price
